            Case 1:19-cv-03042-TOR                  ECF No. 32           filed 11/04/20    PageID.145 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington


                    MARGARET PILLON,                                 )
                             Plaintiff                               )
                                v.                                   )        Civil Action No.    1:19-CV-3042-TOR
                                                                     )
   KLICKITAT COUNTY HEALTH DEPARTMENT,
    KLICKITAT COUNTY, and CARLA DIONNE,                              )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’              Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, this action is DISMISSED with prejudice, and without
               costs to all parties.



This action was (check one):

’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                                   THOMAS O. RICE                            on the parties' Stipulation and Order
      for Voluntary Dismissal (ECF No. 30).


Date:      November 4, 2020                                                  CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Bridgette Fortenberry
                                                                                          (By) Deputy Clerk

                                                                             Bridgette Fortenberry
